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HAWAII REVISED STATUTES

2018 CUMULATIVE SUPPLEMENT

VOLUME 3
TITLES 10-12, CHAPTERS 121 —200D
FOR USE WITH THE 2011 REPLACEMENT VOLUME
AND
VOLUME 4
TITLES 13 — 14, CHAPTERS 201 - 257
FOR USE WITH THE 2017 REPLACEMENT VOLUME

PUBLISHED BY AUTHORITY

EXHIBIT “M”
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Case 1:19-cv-00578-JMLRT Document 92-14 Filed o5/28/f Page 2 of 11 PagelD.812

FIREARMS, AMMUNITION AND DANGEROUS WEAPONS — 134-2

photographing of the applicant by the police department of the county of reg-
istration, provided that where fingerprints and a photograph are already on file
with the department, these may be waived.

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(d) The chief of police of the respective counties may issue permits to ac-
quire firearms to citizens of the United States of the age of twenty-one years or
more, or duly accredited official representatives of foreign nations, or duly com-
missioned law enforcement officers of the State who are aliens; provided that any
faw enforcement officer who is the owner of a firearm and who is an alien shall
transfer ownership of the firearm within forty-eight hours after termination of
employment from a law enforcement agency. The chief of police of each county
Tay issue permits to aliens of the age of eighteen years or more for use of rifles
and shotguns for a period not excceding sixty days, upon a showing that the alien
has first procured a hunting license under chapter 183D, part I. The chief of po-
lice of each county may issue permits to aliens of the age of twenty-one years or
more for use of firearms for a period not exceeding six months, upon a showing
that the alien is in training for a specific organized sport-shooting contest to be
held within the permit period. The attorney general shall adopt rules, pursuant
to chapter 91, as to what constitutes sufficient evidence that an alien is in training
for a sport-shooting contest. Notwithstanding any law to the contrary and upon
joint application, the chief of police may issue permits to acquire firearms jointly
to spouses who otherwise qualify to obtain permits under this section.

(ce) The permit application form shall be signed by the applicant and by
the issuing authority. One copy of the permit shall be retained by the issuing au-
thority as a permanent official record. Except for sales to dealers licensed under
section 134-3], or dealers licensed by the United States Department of Justice,
or law enforcement officers, or where a license is granted under section 134-9,
or where any firearm is registered pursuant to section 134-3(a), no permit shall
be issued to an applicant earlier than fourteen calendar days after the date of
the application; provided that a permit shall be issued or the application denied
before the twentieth day from the date of application. Permits issued to acquire
any pistol or revolver shall be void unless used within ten days after the date of
issue Permits to acquire a pistol or revolver shall require a separate application
and permit for vach transaction. Permits issued to acquire any rifle or shotgun
shall enatle the permitice to make subsequent purchases of rifles or shutguns for
a period of one year from the date of issue without a separate application and
permit for cach acquisition, subject to the disqualifications under section 134-7
and subject to revocation under section 134-13; provided that if a permittee is
arrested for committing a felony or any crime of violence or for the illegal sale
of any drug, the permit shall be impounded and shall be surrendered to the issu-
ing authority. The issuing authority shall perform an inquiry on an applicant by
using the International Justice and Public Safety Network, including the United
States Immigration and Customs Enforcement query, the National Crime Infor-
mation Center, and the National Instant Criminal Background Check System,
pursuant to section 846-2.7 before any determination to issue a permit or to deny
an application is made.

(f) Inall cases where a pistol or revolver is acquired from another person
within the State, the permit shall be signed in ink by the person to whom title
to the pistol or revolver is transferred and shall be delivered to the person who
is transferring title to the firearm, who shall verify that the person to whom the
firearm is to be transferred is the person named in the permit and enter on the :
permit in the space provided the following information: name of the person to

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134-2 PUBLIC SAFETY AND INTERNAL SECURITY

whom the title to the firearm was transferred; names of the manufacturer and
importer; model; type of action; caliber or gauge; and serial number, as appli-
cable. The person who is transferring title to the firearm shall sign the permit in
ink and cause the permit to be delivered or sent by registered mail to the issuing
authority within forty-eight hours after transferring the firearm.

In all cases where receipt of a firearm is had by mail, express, freight, or
otherwise from sources without the State, the person to whom the permit has
been issued shall make the prescribed entries on the permit, sign the permit in
ink, and cause the permit to be delivered or sent by registered mail to the issuing
authority within forty-eight hours after taking possession of the firearm.

In all cases where a rifle or shotgun is acquired from another person within
the State, the person who is transferring title to the rifle or shotgun shail submit,
within forty-eight hours after transferring the firearm, to the authority that is-
sued the permit to acquire, the followmg information, in writing: pame of the
person who transferred the firearm, name of the person to whom the title to the
firearm was transferred; names of the manufacturer and importer; model; type
of action; caliber or gauge; and serial number, as applicable.

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(i) No fee shall be charged for permits, or applications for permits, un-
der this section, except for a single fee chargeable by and payable to the issuing
county, for individuals applying for their first permit, in an amount equal to the
fee charged by the Hawaii criminal justice data center pursuant to section 846-
2.7. In the case of a joint application, the fee provided for in this section may be
charged to each person to whom no previous permit has been issued.

(}) In all cases where a permit application under this section is denied
because an applicant is prohibited from owning, possessing, receiving, or con-
trolling firearms under federal or state law, the chief of police of the applicable
county shall, within ten business days from the date of denial, send written no-
tice of the denial including the identity of the applicant and the reasons for the
denial to the:

(J) Prosecuting attorney in the county where the permit was denied;

(2) Attorney general;

(3) United States Attorney for the District of Hawaii; and

(4) Director of public safety.

If the permit to acquire was denied because the applicant is subject to an
order described in section 134-7(f), the chief of police shall, within three busi-
ness days from the date of denial, send written notice of the denial to the court
that issued the order.

When the director of public safety receives notice that an applicant has
been denied a permit because of a prior criminal conviction, the director of
public safety shall determine whether the applicant is currently serving a term
of probation or parole, and if the applicant is serving such a term, send written
notice of the denial to the applicant's probation or parole officer. [am L 2016, c
108, §2; am L 2017, c 63, §1}

Revision Note
Only the subsections amended or added are compiled in this Supplement.
Case Notes
Plaintiff Srearm permit applicant's allegations that: (1) plaintiff was deprived of plaintifl's fun-

damental constitutional right to bear operational firearms and ammunition as guaranteed by the
Second Amendment; and (2) plaintiff was wrongfully denied permit under this section without

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Case 1:19-cv-00578-JIMART Document 92-14 Filed 05/28/20 Page 4 of 11 PagelD.814

§134-3 Registration, mandatory, exceptions. (a) Every
resident or other person arriving in the State who brings or by
any other manner causes to be brought into the State a firearm of
any description, whether usable or unusable, serviceable or
unserviceable, modern or antique, shall register the firearm
within five days after arrival of the person or of the firearm,
whichever arrives later, with the chief of police of the county
of the person's place of business or, if there is no place of
business, the person's residence or, if there is neither a place
of business nor residence, the person's place of sojourn. A
nonresident alien may bring firearms not otherwise prohibited by
law into the State for a continuous period not to exceed ninety
days; provided that the person meets the registration requirement
of this section and the person possesses:

(1) A valid Hawaii hunting license procured under chapter
183D, part II, or a commercial or private shooting
preserve permit issued pursuant to section 183D-34;

(2) A written document indicating the person has been
invited to the State to shoot on private land; or

(3) Written notification from a firing range or target
shooting business indicating that the person will
actually engage in target shooting.

The nonresident alien shall be limited to a nontransferable
registration of not more than ten firearms for the purpose of the
above activities.

Every person registering a firearm under this subsection
shall be fingerprinted and photographed by the police department
of the county of registration; provided that this requirement
shall be waived where fingerprints and photographs are already on
file with the police department. The police department shall
perform an inquiry on the person by using the International
Justice and Public Safety Network, including the United States
Immigration and Customs Enforcement query, the National Crime
Information Center, and the National Instant Criminal Background
Check System, pursuant to section 846-2.7 before any
determination to register a firearm is made. Any person
attempting to register a firearm, a firearm receiver, or the
parts used to assemble a firearm, and who is found to be
disqualified from ownership, possession, or control of firearms
or ammunition under section 134-7, shall surrender or dispose of
all firearms and ammunition pursuant to section 134-7.3.

(b) Every person who acquires a firearm pursuant to section
134-2 shall register the firearm in the manner prescribed by this
section within five days of acquisition. The registration of all
firearms shall be on forms prescribed by the attorney general,
which shall be uniform throughout the State, and shall include
the following information: name of the manufacturer and
importer; model; type of action; caliber or gauge; serial number;
and source from which receipt was obtained, including the name
and address of the prior registrant. If the firearm has been

https://www.capitol.hawaii.gov/hrscurrent/Vol03_Ch0121-0200D/HRS0134/HRS_... 5/21/2021
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assembled from separate parts and an unfinished firearm receiver,
the entity that registered the firearm receiver shall be recorded
in the space provided for the name of the manufacturer and
importer, and the phrase "assembled from parts" shall be recorded
in the space provided for model. If the firearm has been
assembled from parts created using a three-dimensional printer,
the entity that registered the firearm receiver shall be recorded
in the space provided for the name of the manufacturer and
importer, and the phrase "3-D printer" shall be recorded in the
space provided for model. If the firearm has no serial number,
the registration number shall be entered in the space provided
for the serial number, and the registration number shall be
engraved upon the receiver portion of the firearm before
registration. On firearms assembled from parts created using a
three-dimensional printer, the serial number shall be engraved on
stainless steel and permanently embedded to the firearm receiver
during fabrication or construction. All registration data that
would identify the individual registering the firearm by name or
address shall be confidential and shall not be disclosed to
anyone, except as may be required:

(1) For processing the registration;

(2) For database management by the Hawaii criminal justice

data center;

(3) By a law enforcement agency for the lawful performance

of its duties; or

(4) By order of a court.

(c) Dealers licensed under section 134-31 or dealers
licensed by the United States Department of Justice shall
register firearms pursuant to this section on registration forms
prescribed by the attorney general and shall not be required to
have the firearms physically inspected by the chief of police at
the time of registration. An authorized dealer, as provided in
section 134-31, or a dealer licensed by the United States
Department of Justice, who brings, assembles, or causes to be
brought into the State by any other means, separate parts and an
unfinished firearm receiver that when assembled create a firearm,
or parts created by a three-dimensional printer that when
assembled create a firearm, shall register the unfinished firearm
receiver and receive a serial number before the assembly of the
firearm or the sale or transfer of unassembled firearm parts or a
receiver to a third party in accordance with subsection (b). Any
sale or transfer of unfinished firearm receivers by an authorized
dealer to a third party shall be conducted as if they were fully
assembled firearms with a serial number engraved on the firearm
receiver and in accordance with the firearms permitting process
in section 134-2. All other firearms and firearm receivers
registered under this section shall be physically inspected by
the respective county chief of police or the chief's
representative at the time of registration.

(d) Registration shall not be required for:

https://www.capitol.hawaii.gov/hrscurrent/Vol03_Ch0121-0200D/HRS0134/HRS_... 5/21/2021
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(1) Any device that is designed to fire loose black powder
or that is a firearm manufactured before 1899;

(2) Any device not designed to fire or made incapable of

being readily restored to a firing condition; or

(3) All unserviceable firearms and destructive devices

registered with the Bureau of Alcohol, Tobacco,
Firearms and Explosives of the United States Department
of Justice pursuant to Title 27, Code of Federal
Regulations.

(e) Every person who permanently moves firearms out of the
State shall contact and notify the county police department in
the county where the firearms are registered about the removal of
the firearms within five days of the removal from the State. Any
person who fails to timely notify the appropriate police
department shall be subject to a civil penalty of $100 per
firearm.

(f) No fee shall be charged for the registration of a
firearm under this section, except for a fee chargeable by and
payable to the registering county for persons registering a
firearm under subsection (a), in an amount equal to the fee
charged by the Hawaii criminal justice data center pursuant to
section 846-2.7. In the case of a joint registration, the fee
provided for in this section may be charged to each person.

(g) No person less than twenty-one years of age shall bring
or cause to be brought into the State any firearm. [L 1988, c
275, pt of §2; am L 1994, c 204, §4; am L 1999, c 217, §2; am L
2007, c 9, §7; am L 2013, c 254, §2; am L 2016, c 108, §3; am L
2019, c 257, §2; am L 2020, c 68, §2 and c 74, §5]

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{§134-6.5] Relief from federal firearms mental! health prohibitor. (a) Any
person who is prohibited from shipping, transporting, possessing, or receiving
any firearm or ammunition, pursuant to title 18 United States Code section
922(d)(4) or (g)(4), having been adjudicated as a mental defective or having been
committed to a mental institution under the laws of this State, may petition the
circuit court in the circuit where the adjudication or commitment was made, in
a civil proceeding, for relief from the federal firearm prohibitor based on the
adjudication or commitment. The attorney general shall represent the State;
provided that the attorney general, with the prosecuting agency's consent, may
designate the prosecuting attorney for the county in which the petitioner seeks
relief to represent the State.

(b) In the civil proceeding, the court shall consider:

(1) The circumstances regarding the adjudication or commitment from
which relief is sought, including the court files of the adjudication or
commitment;

(2) The petitioner’s mental health and criminal history records, if any;

(3) The petitioner's reputation in the community, developed at a mini-
mum through character witness statements, testimony, or other char-
acter evidence; and

(4) Changes in the petitioncr’s condition or circumstances since the dis-
qualifying events relevant to the relief sought, including medical doc-
umentation that the petitioner is no longer adversely affected by the
condition that resulted in the petitioner's adjudication or commitment
and is not likely to act in a manner dangerous to public safety.

{c) The court shall grant the petition for relief if the petitioner proves,
by clear and convincing evidence, that the petitioner will not be likely to act ina
manner dangerous to public safety and that the granting of the relief would not
be contrary to the public interest. The court shall make written findings of facts
and conclusions of law on the issues before it and issue a final order.

(d) When a court issues an order granting or denying a petition for relief,
the court shall forward this information to the Hawaii criminal justice data cen-
ter, which in turn shall forward this information to the Federal Bureau of Inves-
tigation, or its successor agency, for inclusion in the National Instant Criminal
Background Check System database. The information shail also be maintained
by the Hawaii criminal justice data center for disclosure to and use by law en-

forcement officials for the purpose of firearms permitting or registration pursu-
ant to chapter 134.

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FIREARMS, AMMUNITION AND DANGEROUS WEAPONS 134-7.2

(e) A person may file a petition for relief under this section no less than
two years after the adjudication or commitment from which the relief is sought,
and no more frequently than once every three years thereafter.

(f) For purposes of this section, the terms “adjudicated as a mental de-
fective’, “committed to a mental institution”, and “mental institution” shall
be construed in accordance with title 18 United States Code section 922, title
27 Code of Federal Regulations section 478.11, and judicial interpretations of
those provisions.

(g) Any relief granted pursuant to this section shall not constitute relief i
from any other federal prohibitors or from any state prohibition pursuant to
chapter 134. The State, its officers, and its employees shall not be liable for any

damages, attorneys’ fees, or costs related to this relief process.
(h) The petitioner may appeal a denial of relief, and the standard of re-
view on appeal shall be de novo. [L 2014, c 87, §2]

§134-7 Ownership or possession prohibited, when; penalty.

Case Notes

Summary judgment granted to defendants

from isiog plaintiff's Second Amendment

where plainiill’s {997 harassment conviction
constituted a conviction for a “misdemeanor
crime of domestic violence” and, as a matter
of stalutory construction, the unavailability of
a procedure for either expungement, set-aside,
pardon, or civil rights restoralion did not re-
move plainulf from the ambit of federal pro-
hibition or by extension, this section. 855 E3d
1067 (2017).

Defendant police chief was entitled to quali-
fied immunity from plaintifl fircarm permit ap-
plicant’s 42 U.S.C. §1983 cluims for monetary
damages for alleged violations of plaintiff's
Second Amendment right to bear arms and
Fourteenth Amendment procedural due process
right because a rensonable official in defendant's
circumstances would not have understood that
defeadant's conduct violated a right that was
clearly estublished at the time of the denial of
plaintiff's permit; this section, on which the de-
nial was based, hud not been invalidated by case
or legislative action. 869 F. Supp. 2d 1203 (2032).

Plaintiff! firearm permit applicant's allega-
tions that plaintiff was denied a permit and ar-
dered to surrender plaintiff's weapons due (v 4
conviction of harussment under §711-1106 more
than ten years before aod that the conviction
was nota crime of violence under subsection (b)
or federal law for the purposes of prohibiting
ownership or possession of firearms were suffi-
cient to state a 42 U.S.C. §1983 claim for a vio-
lation of plaintiff's Second Amendment rights.
869 F. Supp. 2d 1203 (2012).

Genuine issue of material fact existed regard-
ing: (1) whether plaintiff had been under coun-
seling for addiction to, abuse of, or dependence
upon o drug or intoxicating liquor; and (2)
whether plaintiff had beea “medically docu-
mented to be no longer adversely affected” by
drugs or intoxicating liquor. As a result, plaintiff
had not established a Second Amendment right
to possess firearms, 976 F. Supp. 2d 1200 (2013).

ubsection (b) did not disqualify plaintift

rights becuse the court could nol conclude that
plaintiff’s convictions for harassment consti-
tuted a crime of violence. 976 F. Supp. 2d 1200
(2013).

Where defendants argued that plaintiff was
prohibited from possessing firearms under [eder-
al low because of the federal Lautenberg Amend-
ment, which prohibits firearm ownership by any
person who “has been convicted in any court of a
misdemeanor crime of domestic violence", plain-
lif's convictions for harassment did not qualify
as a misdemeanor crime of domestic violence
under Federal law. 976 F. Supp. 2d 1200 (2013).

Where defendants asserted thal plaintiff
lacked standing to bring a lawsuit because
plaintiff was precluded from obtaining firearms
under this section, and, therefore, could nat es-
tablish a violution of plaintiff's Second Amend-
ment rights, police department's denial of plain-
tif's application for a firearms permit, order to
surrender firearms plaintiff possessed, and letter
affirming the denial of the application consti-
tuted an “injury-in-fact” sulfictent to meet the
minimum requirements of Articte HI standing
49 F. Supp. 3d 727 (2014).

Where plaintiff was disqualified from pos-
sessing firearms under 18 U.S.C, §922(g)(9)
and applying subsection (2) would not have an
impermissible retroactive effect, subsection (a)
precluded plaintiff from acquiring a firearms
permil. 49 F. Supp. 3d 727 (2014).

Where the State's evidence anly went so far as
to show defendant's ownership and presence in
the vehicle and defendant's proximity to the fire-
arm and ammunition, absent evidence of intent,
the circuit court correctly granted defendant's

d motion of judgment of acquittal; the
appeats court thus erred in vacaling circuit
court's judgment by Concluding that there was
sufficient evidence of intent for jury to infer that
defendant constructively possessed the subject
rifle and ammunition in vidlation of subsection
(b). $28 H. 18, 282 P3d $60 (2012).

§134-7,2 Prohibition against seizure of firearms or ammunition during
emergency or disaster; suspension of permit or license. (a) Notwithstanding any

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134-7.2 PUBLIC SAFETY AND INTERNAL SECURITY

{am L 2014, c 111, §7]

Revision Note

Only the subsections amended are compiled in this Supplement,

§134-7.3 Seizure of firearms upon disqualification. (a) If any applicant
is denied a permit, the chiefs of police of the respective counties shall send, by

(c) For any person disqualified from ownership, possession, or control of
firearms and ammunition under section 134-7(c), or because the person has been
admitted to a psychiatric facility, whether for emergency or involuntary hospital-
ization, pursuant to part IV of chapter 334, once the chief of police is notified

The notice shal] be in writing, shall set forth the reasons for the disqualification,
and shall state the Tequirement that the person immediately surrender all fire.

longer adversely affected as Provided in section 134-7 or until transferred or sold
by the owner. Nothing in this subsection shall be construed to limit the duties

(d) For the purposes of this section, “dispose” means selling the firearms
to a gun dealer licensed under section 134-31, transferring ownership of the fire-
arms to any person who meets the requirements of section 134-2, or surrender-

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FIREARMS, AMMUNITION AND DANGEROUS WEAPONS = 134-16

ing all firearms to the chief of police where the person resides for storage or
disposal; provided, for a person subject to section 134-7(f), “dispose” shall not
include transferring ownership of the firearms to any person who meets the re-
quirements of section 134-2.

(e) The chief of police of the respective counties shall adopt procedures
to implement and administer the provisions of this section by December 31,
2001. [L 2000, c 127, §1; am L 2004, c 4, §2; am L 2016, c 110, §2; am L 2018, ¢
158, §1]

{§134-8.5] Bump fire stock, multiburst trigger activator, or trigger crank;
prohibition. (a) Any person in this State who manufactures or causes to be
manufactured, imports into the State, keeps for sale, or offers or exposes for sale,
or who gives, lends, or possesses any bump fire stock, multiburst trigger activa-
tor, or trigger crank shall be guilty of a class C felony.

(b) As used in this section:

“Bump fire stock” means a butt stock designed to be attached to a semiau-
tomatic firearm and designed, made, or altered to increase the rate of fire achiev-
able with such firearm by using energy from the recoil of the firearm to generate
a reciprocating action that facilitates repeated activation of the trigger.

“Multiburst trigger activator” means:

(1) A device that simulates automatic gunfire by allowing standard func-
tion of a semiautomatic firearm with a static positioned trigger finger
or a device that fires multiple shots with the pull and release of the
trigger; or

(2) A manual or power-driven trigger activating devics-constructed and
designed so that when attached to a semiautomatic firearm it simu-
lates automatic gunfire.

“Trigger crank” means any device to be attached to a semiautomatic fire-
arm that repeatedly activates the trigger of the firearm through the use of a lever
or other part that is turned in a circular motion, but does not inchide any firearm
initially designed and manufactured to fire through the use of a crank or lever.
[L 2018, c 157, §1)

§134-9 Licenses to carry.

Case Notes

Discussed: 9}t F. Supp. 2d 972 (2012).

§134-16 Restriction on possession, sale, gift, or delivery of electric guns.
ee
(b) Any electric gun possessed, offered for sale, held for sale, sold, given,
lent, or delivered in violation of subsection (a) shall be confiscated and disposed
of by the chief of police.
(c) This section shall not apply to:
(1) Law enforcement officers of county police departments;
(2) Law enforcement officers of the department of public safety;
(3) Conservation and resources enforcement officers of the department
of land and natural resources;
(4) Members of the Army or Air National Guard when assisting civil
authorities in disaster relief, emergency management, or law enforce-
ment functions, subject to the requirements of section 121-34.5; and

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134-16 PUBLIC SAFETY AND INTERNAL SECURITY

(5) Vendors providing electric guns to the individuals described in para-
graphs (1) through (4);
provided that electric guns shall at all times remain in the custody and control of
the law enforcement officers of the county police departments, the law enforce-
ment officers of the department of public safety, the conservation and resources
enforcement officers of the department of land and natura! resources, or the
members of the Army or Air National Guard.

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(e) The department of land and natural resources and the department of
public safety shall ensure that each of its conservation and resources enforce-
ment officers and law enforcement officers who is authorized to use an electric
gun and related equipment shall first receive training from the manufacturer or
from a manufacturer-approved training program, as well as by manufacturer-
certified or approved instructors in the use of electric guns prior to deployment
of the electric guns and related equipment in public. Training for conservation
and resources enforcement officers of the department of land and natural re-
sources and law enforcement officers of the department of public safety may be
done concurrently to ensure cost Savings.

(f) No later than June 30, 2018, the conservation and resources enforce-
ment program of the department of land and natural resources shall meet the
law enforcement accreditation or recognition standards of the Commission on
Accreditation for Law Enforcement Agencies, Inc., in the use of electric guns,
fam L 2012, c 148, §1; am L 2014,¢ 111, §28)

Revision Note
Only the subsections amended are compiled in this Supplement.

[§134-23] Place to keep loaded firearms other than pistols and revolvers;
penalty.

Case Notes
Discussed: 911 F. Supp. 2d 972 (2012).

1§134-24) Place to keep unloaded firearms other than pistols and revolvers; |
penalty.
Case Notes
Discussed: 91] F. Supp. 2d 972 (2012).

{§134-25}] Place to keep pistol or revolver; penalty.

Case Notes
Discussed: 911 F. Supp. 2d 972 (2012).

1§134-26} Carrying or possessing a loaded firearm on a public highway;
penalty.

Case Notes
Discussed: 911 F. Supp. 2d 972 (2012).

[§134-27] Place to keep ammunition; penalty.

Case Notes
Discussed: 911 F. Supp. 2d 972 (2012).

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